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                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA
                                 ROME DIVISION

AIM STAFFING, LLC,                        )
                                          )
         Plaintiff,                       )
                                          )
vs.                                       )       CIVIL ACTION NO.
                                          )       4:11-CV-00240-HLM
NOTS LOGISTICS, L.L.C.,                   )
NASHVILLE MATERIAL &                      )
SUPPLY, L.L.C., and                       )
DAWN, LLC d/b/a                           )
PLACESMART AGENCY,                        )
                                          )
         Defendants.                      )

AIM STAFFING, LLC’s RESPONSE TO DEFENDANTS’ STATEMENT OF
               UNDISPUTED MATERIAL FACTS

         COMES NOW AIM Staffing, LLC, by and through counsel, and provides

notice of its disagreement with the following allegations of Defendants:

      1. As to the provisions for which AIM Staffing seeks contract damages, i.e., the

         60 days notice of termination provision and the hiring of AIM Staffing’s

         employees provision, no one at NOTS Logistics ever agreed to those

         provisions. (Internal citations omitted).

         Response:




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      This is the ultimate issue in this case. While it is true that NOTS Logistics

did not expressly agree to the contract at issue, NOTS Logistics, through its

conduct, affirmed and accepted all the terms of the contract. See AIM Staffing’s

Motion for Partial Summary Judgment against Defendant NOTS Logistics, L.L.C.

   2. With respect to AIM Staffing’s breach of private duty claim, the only breach

      alleged to have been committed is the breach of the alleged contract.

      Response:
      While the private duty breached by Defendants arose from the contract,

Defendants’ conduct amounts to more than a simple breach of contract. Because

Defendants not only terminated the contract with AIM Staffing without the

specified notice, but also hired away many of AIM Staffing’s employees,

Defendants breached a private duty implicit in the contract. See AIM Staffing’s

Response in Opposition to Defendants’ Motion for Summary Judgment at § IV.


      Respectfully submitted this 4th day of December, 2012.




(Signature following)




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                                  FLINT, CONNOLLY & WALKER, LLP

                                  /s/ Konrad G.W. Ziegler
                                  _________________________________
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                         CERTIFICATE OF SERVICE

      I certify that I have, on this day, served all counsel of record in this action

with the foregoing AIM Staffing, LLC’s Response to Defendants’ Statement of

Undisputed Material Facts by electronic delivery by way of this Court’s CM/ECF

system.

      Respectfully submitted this 4th day of December, 2012.


                                      FLINT, CONNOLLY & WALKER, LLP

                                      /s/ Konrad G.W. Ziegler
                                      ________________________________
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